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                                                                                       2019 Aug-22 PM 03:12
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                   TIN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION
IN RE: COMMUNITY HEALTH                        )
SYSTEMS, INC.,                                 )
CUSTOMER SECURITY DATA                         )
BREACH LITIGATION                              )
(MDL 2595)                                     )
                                               ) MASTER FILE NO.
                                               ) 15-CV-222-KOB
                                               )
                                               ) This document relates to all cases.
                                               )
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            ORDER AND JUDGMENT GRANTING FINAL APPROVAL
                    OF CLASS ACTION SETTLEMENT


           This matter has come before the court on the Plaintiffs’ “Motion for Order

and Judgment Granting Final Approval of Class Action Settlement” and

memorandum in support of that motion. (Docs. 212 & 214).

           The court first finds that it has jurisdiction over this MDL action. (Docs. 125

& 144).

           On December 19, 2018, the court granted the Plaintiffs’ unopposed “Motion

for Preliminary Approval of Class Action Settlement and Certification of

Settlement Class” and conditionally certified the class for settlement purpose only.

(Doc. 202). The court then held a hearing on August 13, 2019 to consider the

fairness, reasonableness, and adequacy of the Settlement.                The court has


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thoroughly and fairly considered (1) the motion for final approval and its exhibits;

(2) the Stipulation and Agreement of Settlement dated December 10, 2018 and as

amended orally at the August 13, 2019 hearing to eliminate the $250 and $5,000

monetary caps set out in Section II. Monetary Relief, ¶¶ 2.1 and 2.2 of the

Settlement Agreement and the oral objection made at the hearing; (3) the exhibits

to the Settlement Agreement; (4) the five documented objections to the Settlement;

(5) the entire record in this action; and (6) the applicable law.

           For the following reasons and for the reasons as set out in the August 13,

2019 Final Fairness Hearing, the court hereby ORDERS the following:

I.         Class Certification

           A.    Unless otherwise indicated, the terms used in this Order and Judgment

are defined in accordance with the definitions of such terms set forth in the

Settlement Agreement.

           B.    The court preliminarily certified the following Settlement Class in the

Preliminary Approval Order:

           All residents of the United States whose Personal Information was
           affected during the cyberattack on CHSPSC’s computer network
           systems that was publicly announced on August 18, 2014.

           C.    The court finds that, for purposes of settlement of this action only, the

Settlement Class satisfies the requirements of Fed. R. Civ. P. 23 because (1)

questions of fact and/or law common to Settlement Class members predominate



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over any questions affecting only individual Settlement Class members, and (2) a

class action is superior to other available methods for fairly and efficiently

adjudicating the dispute.      The Parties’ ability to resolve this action on terms

applicable to all Settlement Class members establishes the predominance of

common legal and factual questions for purposes of the Settlement. Moreover, a

class action is the superior means of resolving the dispute because individual

Settlement Class members have demonstrated no interest in prosecuting separate

actions, and the cost of litigation far outweighs any individual recovery available to

any Settlement Class member.

           D.   The court, therefore, CERTIFIES for settlement purposes only the

Settlement Class as defined in Section I(A) of this Order.

II.        Notice

           A.   The court finds that the Notice Program: (1) satisfied the requirements

of Fed. R. Civ. P. 23(c)(2)(B) and due process; (2) was the best practicable notice

under the circumstances; (3) reasonably apprised Settlement Class members of the

pendency of the Action and their right to object to the settlement or opt-out of the

Settlement Class; and (4) was reasonable and constituted due, adequate and

sufficient notice to all persons entitled to receive notice. Approximately 90% of

the 6,081,189 individuals identified as Settlement Class members received the

Initial Postcard Notice of this Settlement Action.



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           B.    The court further finds, pursuant to Fed. R. Civ. P. 23(c)(2)(B), that

the Class Notice adequately informed Settlement Class members of their rights

with respect to this action.

III.       Final Approval of the Settlement Agreement

           A.    The court APPROVES the terms of the December 10, 2018

Settlement Agreement and as orally amended at the August 13, 2019 hearing to

eliminate the $250 and $5,000 monetary caps set out in Section II. Monetary

Relief, ¶¶ 2.1 and 2.2 of the Settlement Agreement. The Settlement as amended is

in all respects fair, reasonable, adequate and proper, and in the best interest of the

Settlement Class.        The court finds no fraud or collusion in arriving at the

Settlement.

           In reaching this conclusion, the court has considered the factors set forth in

Fed. R. Civ. P. 23(e)(2) and finds that (1) the Class Representative and Class

Counsel have adequately represented the Class; (2) the Settlement was negotiated

at arm’s length; (3) the relief provided for the Class is adequate; and (4) the

Settlement treats Class Members equitably relative to each other.

           B. The court also has considered the five objections to the Settlement

Agreement filed in this action (docs. 205, 207, 208, 209, 211) and heard from Paul

Spence at the August 13, 2019 hearing regarding his objections to the Settlement

Agreement. For the reasons stated on the record at the August 13, 2019 hearing,



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the court DENIES the objections and REJECTS the arguments of Objectors in all

respects, and finds that they are unpersuasive as to the substance of their

complaints.

           C.   The court finds no just reason for delay in entering the Final Order

and Judgment Approving Settlement pursuant to Fed. R. Civ. P. 23(e) because (1)

delay would not be in the best interests of the Settlement Class members, who will

be able to receive Awards shortly after entry of the Final Order and Judgment

Approving Settlement; and (2) judicial economy and administration would be

served by the efficient resolution of the claims of Settlement Class members by

means of the Settlement.

IV.        Opt-Outs

           The Parties have submitted to the court a list of 995 members of the

Settlement Class who have timely and validly elected to opt-out of the Settlement

Class, or who the Parties agreed have opted out. So, only .016% of the Settlement

Class members opted out of this action. The members of the Settlement class who

are on that opt-out list are not bound by the Settlement, the provisions of the

Settlement Agreement, and this Order and Judgment.

           The court attaches that list to this Order and Judgment as Exhibit A;

incorporates that list in this ORDER by reference; and ORDERS the Clerk of

Court to SEAL that list. All other Settlement Class members (as finally certified



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by this Order and Judgment) shall be subject to all of the provisions of the

Settlement Agreement and this Order and Judgment.

V.         Releases

           The court finds that, pursuant to ¶ 6.1 of the Settlement Agreement, each

Settlement Class Member who did not timely opt-out of the Settlement shall be

deemed to have released and forever discharged each Released Person of and from

liability for any and all Released Claims as defined in ¶¶ 1.18 and 1.26 of the

Settlement Agreement.

VI.        Dismissal with Prejudice

           The court hereby enters a judgment of dismissal of the Complaint in this

action with prejudice and without costs (except as specified in this Order), pursuant

to Fed. R. Civ. P. 54.

VII. Attorneys’ Fees and Expenses and Incentive Awards

           A.    The court hereby GRANTS Class Counsel’s motion for an award of

reasonable attorneys’ fees and reimbursement of expenses in the amount of nine

hundred thousand dollars ($900,000.00), to be paid by Community Health Systems

Professional Services Corporation n/k/a CHSPSC, LLC in accordance with the

terms of the Settlement Agreement. (Doc. 215).

           B.    The court further grants Class Counsel’s motion for an Incentive

Award in the amount of three thousand five hundred dollars ($3,500.00), to be paid



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to Class Representative William Lutz by Community Health Systems Professional

Services Corporation n/k/a CHSPSC, LLC in accordance with terms of the

Settlement Agreement. (Doc. 215).

VIII. Continuing Jurisdiction

           Without in any way affecting the finality of this Order and Judgment, the

court hereby retains jurisdiction over the Parties to the Settlement, including all

Settlement Class members, to construe and enforce the Settlement Agreement in

accordance with its terms for the mutual benefit of the Parties.

           DONE and ORDERED this 22nd day of August, 2019.



                                         ____________________________________
                                         KARON OWEN BOWDRE
                                         CHIEF UNITED STATES DISTRICT JUDGE




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